                                             Case 2:19-cv-00239-GMS Document 17 Filed 05/23/19 Page 1 of 2



                                       1   Gregory B. Collins (#023158)
                                           Zach R. Fort (#031643)
                                       2
                                           KERCSMAR & FELTUS PLLC
                                       3   7150 East Camelback Road, Suite 285
                                           Scottsdale, Arizona 85251
                                       4   Telephone: (480) 421-1001
                                       5   Facsimile: (480) 421-1002
                                           gbc@kflawaz.com
                                       6   zrf@kflawaz.com
                                       7
                                           Attorneys for Plaintiff
                                       8
                                       9                       IN THE UNITED STATES DISTRICT COURT
                                      10                             FOR THE DISTRICT OF ARIZONA
                                      11
7150 East Camelback Road, Suite 285




                                      12   Ronald H. Pratte,                               Case No. 2:19-cv-00239-PHX-GMS
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13                        Plaintiff,                 NOTICE OF INTENT TO SERVE
                                                                                           SUBPOENA DUCES TECUM
           (480) 421-1001




                                      14
                                           vs.
                                      15
                                           Jeffrey Bardwell and Fanny F. Bardwell,
                                      16   husband and wife,
                                      17                        Defendants.
                                      18
                                      19          Pursuant to Fed. R. Civ. P. 45(a)(4), Plaintiff Ronald H. Pratte gives notice of his
                                      20   intent to serve a Subpoena Duces Tecum on the following individual: Maria Jennifer
                                      21   Recendez.
                                      22          A copy of the subpoena has been provided to Defendants’ counsel via U.S. Mail
                                      23   and email.
                                      24
                                      25
                                      26
                                      27
                                      28

                                                                                     1
                                              Case 2:19-cv-00239-GMS Document 17 Filed 05/23/19 Page 2 of 2



                                       1
                                       2          DATED this 23th day of May, 2019

                                       3
                                                                             KERCSMAR & FELTUS PLLC
                                       4
                                       5                                 By: s/ Zach Fort
                                                                             Gregory B. Collins
                                       6
                                                                             Zach R. Fort
                                       7                                     7150 East Camelback Road, Suite 285
                                                                             Scottsdale, Arizona 85251
                                       8                                     Attorneys for Plaintiff
                                       9
                                      10                          CERTIFICATE OF SERVICE
                                      11        I certify that on May 23, 2019, I electronically transmitted the foregoing to the
                                           Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of
7150 East Camelback Road, Suite 285




                                      12
                                           Electronic Filing to the following:
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13
           (480) 421-1001




                                      14   Thomas M. Connelly
                                           LAW OFFICES OF THOMAS M. CONNELLY
                                      15   2425 East Camelback Road, Suite 880
                                           Phoenix, Arizona 85016
                                      16   Phone: (602) 957-1993
                                      17   Facsimile: (602) 957-2137
                                           Tconnelly2425@aol.com
                                      18
                                           Thomas J. Marlowe
                                      19   LAW OFFICES OF THOMAS J. MARLOWE
                                           2425 East Camelback Road, Suite 880
                                      20   Phoenix, Arizona 85016
                                      21   Phone: (602) 957-1993
                                           Facsimile: (602) 957-2137
                                      22   Tmarlowe2425@outlook.com
                                      23   Attorneys for Defendants
                                      24
                                      25   s/ Mary Ann Bautista
                                      26
                                      27
                                      28

                                                                                  2
